Case 1:18-cr-20682-CMA Document 91 Entered on FLSD Docket 09/01/2020 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  MATTHIAS KRULL,

        Defendant.
  _______________________________/

                                             ORDER

         THIS CAUSE came before the Court upon the Defendant’s Unopposed Motion to Delay

  Defendant’s Surrender and for Removal of Home Confinement and Electronic Monitoring as

  Conditions of Release [ECF No. 90]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. Defendant shall remain

  out of custody pursuant to the conditions of bond filed on September 11, 2018 [ECF No. 7], as

  subsequently modified and further modified herein, and he shall surrender to the Bureau of

  Prisons on March 7, 2021.       The special conditions of home confinement and electronic

  monitoring shall be removed from Defendant’s conditions of bond. All other conditions of

  Defendant’s bond remain in effect.

         DONE AND ORDERED in Miami, Florida, this 1st day of September, 2020.




                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
